                                                                                                    FILED
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                                                                                            U.S. DISTRICT COURT
                                                                                           DISTRICT OF MARYLAND
                                                                                                 11/23/2020
RRR/EBP: 2019R00723                                                                             CLERK’S OFFICE
                                                                                                AT GREENBELT
                              IN THE UNITED STATES DISTRICT COURT                            BY KN, DEPUTY CLERK
                                 FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                             *
                                                      *
           v.                                         *       CRIMINAL NO.         TDC 20-cr-414
                                                      *
 SARAH GEDDES HOLMES,                                 *       (Embezzlement from a Labor
                                                      *       Organization, 29 U.S.C. § 501(c); Bank
                       Defendant                      *       Fraud, 18 U.S.C. § 1344; Forfeiture,
                                                      *       18 U.S.C. §§ 981(a)(1)(C) and 982(a)(2)
                                                      *       and (b)(1); 21 U.S.C. § 853(p);
                                                      *       28 U.S.C. § 2461(c))
                                                      *
                                                   *******

                                              INFORMATION

                                            COUNT ONE
                                (Embezzlement from a Labor Organization)

         The United States Attorney for the District of Maryland charges that:

         At all times relevant to this Information:

         1.           Defendant SARAH GEDDES HOLMES (“HOLMES”) resided in the District of

Maryland.

         2.           Bank 1 was a financial institution within the meaning of 18 U.S.C. § 20 and had its

deposits insured by the Federal Deposit Insurance Corporation and the National Credit Union

Administration.

         3.           The International Association of Machinists and Aerospace Workers, Local Lodge

24 (“Local 24”), is a labor organization within the meaning of 29 U.S.C. § 402(i) that represents

members that work on Andrews Air Force Base in Clinton, Maryland.

         4.           HOLMES became the Secretary-Treasurer of Local 24 in 2015. As Secretary-

Treasurer, HOLMES was an officer of Local 24, a fiduciary, and occupied a position of trust
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within Local 24 and in relation to its members, as defined in 29 U.S.C. § 501(a).

       5.       Local 24 members pay monthly dues that are intended to fund legitimate union

purposes, including bargaining with employers, litigating grievances, and providing any

administrative support that Local 24 requires. HOLMES was a signatory on Local 24’s bank

account and had sole control of Local 24’s checkbook, including Local 24’s checking account at

Bank 1.

                                            The Charge

       6.       On or about May 2015 through June 2018, in the District of Maryland, the

defendant,

                                  SARAH GEDDES HOLMES,

while an officer of Local 24, a labor organization engaged in an industry affecting commerce, did

embezzle, steal and unlawfully and willfully abstract and convert to her own use the moneys,

funds, securities, property, and other assets of said labor organization.


29 U.S.C. § 501(c)




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                                           COUNT TWO
                                           (Bank Fraud)

       The United States Attorney for the District of Maryland further charges that:

       1.       Paragraphs 1 through 5 of Count One are incorporated here.

                                     The Scheme to Defraud

       2.       Between in or about May 2015 through in or about June 2018, in the District of

Maryland and elsewhere, the defendant,

                                 SARAH GEDDES HOLMES,

did knowingly and willfully devise a scheme and artifice to defraud Bank 1 and to obtain monies,

funds, credits, assets, and securities owned by and under the custody and control of Bank 1 by

means of materially false and fraudulent pretenses, representations, and promises (“the scheme to

defraud”).

                                       Manner and Means

       3.       It was part of the scheme to defraud that, through fraudulent means, HOLMES

wrote and signed checks in her name, forged signatures on checks in her name, altered already

written checks by changing check numbers, dates, and amounts, and deposited said checks into

her personal bank account.

       4.       It was further part of the scheme to defraud that HOLMES obtained money that

was under the custody and control of Bank 1, in the amount totaling $294,585.18, by depositing

160 fraudulent checks in her name.

       5.       It was further part of the scheme to defraud that, after the funds were transferred

from Bank 1 into HOLMES’ personal bank account, HOLMES used the money at casinos and to

make personal purchases, including for food, household goods, beauty supplies, online gaming,

and other gambling related expenditures.



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                                          The Charge

       6.      On or about February 26, 2018, in the District of Maryland, the defendant,

                                SARAH GEDDES HOLMES,

did knowingly and willfully execute the scheme to defraud Bank 1 by depositing three fraudulent

checks totaling $6,920.02 drawn on Local 24’s bank account held by Bank 1 into HOLMES’

personal bank account.


18 U.S.C. § 1344




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                                 FORFEITURE ALLEGATION

       The United States Attorney for the District of Maryland further finds that:

       1.       Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the

United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.

§§ 981(a)(1)(C), 982(a)(2) and (b)(1) and 21 U.S.C. § 853(p) in the event of the defendant’s

conviction of either of the offenses charged in Counts One and Two of this Information.

                                    Embezzlement Forfeiture

       2.       Upon conviction of the offense alleged in Count One of this Information, the

defendant,

                                  SARAH GEDDES HOLMES

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any property, real or personal, which constitutes or is derived from proceeds traceable to the

offense.

                                      Bank Fraud Forfeiture

       3.       Upon conviction of the offense alleged in Count Two of this Information, the

defendant,

                                  SARAH GEDDES HOLMES

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2), any property constituting, or

derived from, proceeds obtained directly or indirectly, as the result of such offense.

                                  Property Subject to Forfeiture

       4.       The property to be forfeited includes, but is not limited to, a money judgment in the

amount of at least $264,585.18 in U.S. Currency.




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                                         Substitute Assets

       5.      If, as a result of any act or omission of the defendant, any of the property described

above as being subject to forfeiture:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third person;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or,

               e.      has been commingled with other property which cannot be subdivided

                       without difficulty,

the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C § 982(b)(1) and

28 U.S.C. § 2461(c), shall be entitled to forfeiture of substitute property up to the value of the

forfeitable property described above.

18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(2) and (b)(1)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)



          11/23/2020
Date: ________________________                           ________________________
                                                         Robert K. Hur
                                                         United States Attorney




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